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 8                             UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
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     CAPELLI MILAN, LLC, et al.,
11                                                        Case No.: 2:20-cv-00827-APG-NJK
            Plaintiff(s),
12                                                                      ORDER
     v.
13                                                                  [Docket No. 14]
     THE HONORABLE STEPHEN F.
14   SISOLAK, et al.,
15          Defendant(s).
16         Pending before the Court is Plaintiffs’ motion to file a second amended complaint to add
17 Calvary Chapel Lone Mountain as a plaintiff. Docket No. 14. That motion was filed on May 18,
18 2020. Two days later, on May 20, 2020, Calvary Chapel Lone Mountain filed a separate lawsuit
19 against state officials. Calvary Chapel Lone Mountain v. Sisolak, Case No. 2:20-cv-00907-RFB-
20 VCF (D. Nev.). Both cases seek damages and injunctive relief for claims arising out of the state’s
21 response to the current pandemic.
22         Given its initiation of a separate suit, it appears that Calvary Chapel Lone Mountain has
23 abandoned its efforts to join this action. At any rate, it does not appear proper to allow Calvary
24 Chapel Lone Mountain to join this suit given that plaintiffs are generally precluded from
25 simultaneously pursuing multiple lawsuits on the same claims. See Adams v. Cal. Dep’t of Health
26 Servs., 487 F.3d 684, 688 (9th Cir. 2007) (“Plaintiffs generally have no right to maintain two
27 separate actions involving the same subject matter at the same time in the same court and against
28 the same defendants”), overruled in part on other grounds by Taylor v. Sturgell, 553 U.S. 880

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 1 (2008); see also Novak v. United States, 795 F.3d 1012, 1020 (9th Cir. 2015) (leave to amend is
 2 properly denied where amendment is futile).
 3         Accordingly, the motion for leave to file a second amended complaint is DENIED without
 4 prejudice. To the extent Calvary Chapel Lone Mountain does in fact wish to join this suit, any
 5 renewed motion seeking that relief must explain in detail why the amendment is not futile in light
 6 of its other pending case.
 7         IT IS SO ORDERED.
 8         Dated: June 9, 2020
 9                                                             ______________________________
                                                               Nancy J. Koppe
10                                                             United States Magistrate Judge
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